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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                            Case No.: 1:21-CR-312-JEB




UNITED STATES OF AMERICA,



                v.                                         Second
                                                     Motion to Continue
                                                    Sentencing for 30-Days
BRADLEY BENNETT

           Defendant.


      The Defendant, Bradley Bennett, by and through undersigned counsel,

hereby moves the Court to continue the Sentencing Hearing, currently set for

January 7, 2025, for no less than thirty (30) days. In support of this motion, Mr.

Bennett states the following:

1.    Undersigned Counsel, Joseph Ross’s father passed away on December 29,

2024, and the funeral is currently set for January 7, 2025, in Philadelphia, PA.

2.    Mr. Ross will not be able to participate in Mr. Bennett’s Sentencing Hearing

on January 7, 2025, due to the unfortunate death of Mr. Ross’s father and

subsequent funeral arraignments.

3.    Mr. Ross is a significant and critical part of the defense team.

4.    Mr. Bennett is not in custody, and he is in compliance with his pretrial

release conditions.

5.    The defendant has attempted to confer with the government about the

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defendant’s request to continue Mr. Bennett’s Sentencing Hearing but has not

received a response as to their position to this motion.

   WHEREFORE, the defendant respectfully requests a 30-day extension to

prepare for the Sentencing Hearing. This Motion is made in good faith and not for

purposes of undue delay. The ends of justice served by this motion outweigh the

interests of the public and the defendant in a speedy trial as set forth in 18 U.S.C. §

3161(h)(7)(A).




       Respectfully submitted, this the 30th day of December, 2024.

                                           /s/ Joseph Ross
                                           /s/Leza Lee Driscoll
                                           /s/Rosemary Godwin
                                           ________________________________
                                           JOSEPH ROSS
                                           Pennsylvania Bar No.: 61722
                                           LEZA LEE DRISCOLL
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                                           Appointed Counsel for Defendant




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                               Certificate of Service

      I certify the foregoing Defendant’s Motion was served on the following via
the Court’s electronic filing system:


      ANNA Z. KRASINSKI
      Assistant United States Attorney
      New Hampshire Bar No. 276778
      United States Attorney’s Office
      Detailed from the District of New Hampshire


      Nialah Ferrer
      Assistant United States Attorney
      Criminal Division
      601 D. Street NW
      Suite 6-1301
      Washington, DC 20530


      This the 30th day of December, 2024.


                                      /s/ Joseph Ross
                                      /s/Leza Lee Driscoll
                                      /s/Rosemary Godwin
                                      ________________________________
                                      JOSEPH ROSS
                                      Pennsylvania Bar No.: 61722
                                      LEZA LEE DRISCOLL
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